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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,    §
      Plaintiffs,                      §   Case No. 5:21-cv-844-XR
                                       §   [Lead Case]
v.                                     §
                                       §
THE STATE OF TEXAS, et al.,            §
      Defendants.                      §

LULAC TEXAS, et al.,                   §
     Plaintiffs,                       §
                                       §
                                           Case No. 1:21-cv-786-XR
v.                                     §
                                           [Consolidated Case]
                                       §
JOHN SCOTT, et al.,                    §
      Defendants.                      §

             MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
                          OF LULAC TEXAS, ET AL.
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                                            INTRODUCTION

        LULAC Texas and their co-plaintiffs’ First Amended Complaint (ECF 136) suffers from the

same deficiencies as their original complaint. First, rather than address sovereign immunity claim-by-

claim and provision-by-provision, as Fifth Circuit precedent requires, the LULAC Plaintiffs seem to

take it for granted that the Secretary of State and the Attorney General (here, the “State Defendants”)

enforce all of Senate Bill 1 (“SB1”). Tex. Leg., An Act Relating to Election Integrity and Security, S.B. 1,

87th Leg., 2d Spec. Sess. (2021). In that regard, they appear to have sued the State Defendants just

because they are the State’s top election and legal officials. The LULAC Plaintiffs fail to identify

specific provisions of SB1 that these defendants enforce and how that enforcement causes their

alleged injuries.

        The same is true with respect to standing. Fifth Circuit precedent instructs the LULAC

Plaintiffs to plead standing claim-by-claim and provision-by-provision. But the LULAC Plaintiffs do

not attempt to comply with this pleading requirement. Moreover, the LULAC Plaintiffs disregard well-

established Fifth Circuit standards on associational and organizational standing. As to associational

standing, the LULAC Plaintiffs provide only cursory information on their members and membership

structure, making it impossible to tell if their members have actually been injured and (even if they

have) if the LULAC Plaintiffs have standing based on those injuries. And as to organizational standing,

the LULAC Plaintiffs fail to identify concrete interests that, if injured, would support Article III

standing. Instead, they point to general social interests like increasing voter turnout or educating the

public on SB1. But Fifth Circuit law rejects standing based on such interests.

        The LULAC Plaintiffs cannot delay the resolution of threshold legal questions or avoid giving

the State Defendants fair notice of their claims by keeping their allegations vague. The State

Defendants respectfully request that the Court dismiss the claims against them.
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                                               ARGUMENT

I.      Plaintiffs Cannot Satisfy Ex parte Young

        Sovereign immunity “prohibits suits against state officials or agencies that are effectively suits

against a state.” City of Austin v. Paxton, 943 F.3d 993, 997 (5th Cir. 2019). Although “Ex parte Young

allows injunctive or declaratory relief against a state official in her official capacity,” it applies only

when “the official has a sufficient ‘connection’ with the enforcement of the allegedly unconstitutional

law.” Mi Familia Vota v. Abbott, 977 F.3d 461, 467 (5th Cir. 2020).

        Fifth Circuit “precedents distill three rules”: (1) “it is not enough that the state official was

merely the but-for cause of the problem that is at issue in the lawsuit”; (2) “where a statute is being

challenged, . . . a provision-by-provision analysis is required”; and (3) “in the particular context of

Texas elections . . . the Secretary’s role varies, so [the plaintiffs] must identify the Secretary’s specific

duties within the particular statutory provision.” Tex. Democratic Party v. Hughs, 860 F. App’x 847, 877–

78 (5th Cir. 2021) (per curiam) (citing Tex. Democratic Party v. Abbott, 978 F.3d 168, 175, 179–81 (5th

Cir. 2020)).

        At the pleading stage, “the plaintiffs’ burden is to allege a plausible set of facts establishing

jurisdiction.” Physician Hosps. of Am. v. Sebelius, 691 F.3d 649, 652 (5th Cir. 2012) (citing Davis v. United

States, 597 F.3d 646, 649–50 (5th Cir. 2009)). During the status conference, the parties discussed this

issue. The State Defendants argued that “the plaintiffs haven’t met their burden of specific allegations

about what conduct from the defendants they are complaining of.” Ex. A at 16. The Court sent “clear

signals to all the plaintiff groups, you need to further amend your complaints here to address these

challenges.” Id. But the LULAC Plaintiffs did not address this problem in their amended complaint.

They still fail to allege relevant enforcement roles for the Secretary of State and Attorney General on

a claim-by-claim and provision-by-provision basis.




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        A.      Plaintiffs Have Not Alleged that the Secretary of State Enforces the Challenged
                Provisions of SB1

        Sovereign immunity precludes the LULAC Plaintiffs’ claims against the Secretary of State

because he does not have a sufficient connection with enforcement of SB1’s challenged provisions.

The LULAC Plaintiffs are required to identify which SB1 provisions they challenge and explain how

the Secretary enforces those provisions. But they do no such thing.

        As a preliminary matter, the LULAC Plaintiffs appear to cite the Secretary’s status as the State’s

top election official as a reason why he is a proper defendant. Citing the Secretary’s general authority

under Texas Election Code §§ 33.001(a) and 31.003, they allege: “The Secretary is the State’s chief

elections officer and must ‘obtain and maintain uniformity in the application, operation, and

interpretation’ of the State’s election laws.” ECF 136 ¶ 26. They further note the Secretary’s authority

under Texas Election Code § 31.005: “The Secretary has authority to ‘take appropriate action to

protect the voting rights’ of Texans, including by ordering officials to correct offending conduct that

‘impedes the free exercise of a citizen’s voting rights.’” Id.

        These allegations do not satisfy Ex parte Young because they do not “identify the Secretary’s

specific duties within the particular statutory provision” being challenged. Tex. Democratic Party, 860 F.

App’x at 877–78 (citing Tex. Democratic Party, 978 F.3d at 179–80). “[I]t is not enough that the official

have a ‘general duty to see that the laws of the state are implemented.’” Tex. Democratic Party v. Abbott,

961 F.3d 389, 400–01 (5th Cir. 2020) (citing Morris v. Livingston, 739 F.3d 740, 746 (5th Cir. 2014)). But

a general duty is all that the LULAC Plaintiffs allege. These provisions contain no specific enforcement

obligation, let alone a specific obligation related to SB1. See Tex. Democratic Party, 860 F. App’x at 877–

78 (“[I]n the particular context of Texas elections, . . . the Secretary’s role varies, so” the LULAC

Plaintiffs must “identify the Secretary’s specific duties within the particular statutory provision” at

issue.) (citing Tex. Democratic Party, 978 F.3d at 179–80). Citing those general statutes does not suffice.

        The LULAC Plaintiffs’ other allegations fare no better. They challenge numerous provisions

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of SB1, but only include allegations regarding the Secretary’s duties in connection with two—§§ 4.04

and 6.03. ECF 136 ¶ 26. Indeed, the LULAC Plaintiffs make no mention at all of the Secretary’s

alleged role in enforcing SB1 except in their paragraph introducing that party. Thus, as an initial matter,

the LULAC Plaintiffs’ claims against the Secretary regarding every other provision of SB1 should be

dismissed. Without a “provision-by-provision analysis,” the LULAC Plaintiffs cannot carry their

burden. Tex. Democratic Party, 860 F. App’x at 877.

        The LULAC Plaintiffs’ allegations regarding §§ 4.04 and 6.03 do not establish the requisite

connection to enforcement. The LULAC Plaintiffs do not explain how enforcement by the Secretary

results in the harms they allege. The Secretary is not a proper defendant because “[d]irecting the

Secretary not to enforce [the challenged provisions] would not afford the Plaintiffs the relief that they

seek.” Mi Familia Vota, 977 F.3d at 468.

        The Secretary’s role under SB1 § 4.04 is not related to Plaintiffs’ alleged injuries. That provision

simply requires the Secretary to establish a training program for poll watchers, see Tex. Elec. Code

§ 33.008, that the training be publicly available, id. § 33.008(1), and that the system provide people

who complete the training with a certificate, id. § 33.008(2). The LULAC Plaintiffs do not allege that

the training program violates their rights. Indeed, their amended complaint does not mention the

training program or § 4.04, except when describing the Secretary. See ECF 136 ¶ 26. Instead, the

LULAC Plaintiffs complain about the potential future behavior of poll watchers, see, e.g., id. ¶¶ 179–

83, but they do not allege that behavior is connected to the Secretary. The LULAC Plaintiffs seem to

admit that local election officials, not the Secretary, will implement the poll-watching provisions they

challenge. See, e.g., id. ¶ 180 (describing SB1’s limitations on what election officials can do at polling

places). See Tex. Democratic Party, 860 F. App’x at 878 (Secretary of State did not enforce voter

registration law because the “county registrars are the ones who review voter registration

applications.”).


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        Nor is the Secretary’s role under SB1 § 6.03 related to the LULAC Plaintiffs’ alleged injuries.

That provision requires a person who assists a voter to submit a form certifying the assistor’s name,

relationship to the voter, and whether he or she received compensation from a political entity for

assisting the voter. Tex. Elec. Code § 64.0322(a). The Secretary is responsible only for designing the

form. Id. § 64.0322(b). SB1 does not delegate authority to the Secretary to enforce compliance should

an individual fail to provide the information or oath required by these provisions. See id. §§ 64.0322,

64.034. Indeed, the forms are not even submitted to the Secretary. They are submitted to local election

officers, who are responsible for ensuring assistors comply with the rules.

        Even if the LULAC Plaintiffs had tried to connect the other SB1 provisions they challenge to

the Secretary, they would have failed. They assert Counts I and IV against the Secretary. ECF 136 at

50, 58. In Count I, the LULAC Plaintiffs challenge SB1 §§ 3.04, 3.09, 3.10, 3.12, 3.13, 4.01, 4.02, 4.06,

4.07, 4.09, 4.12, 5.01–5.03, 5.07, 5.08, 6.03, 6.04, and 7.04. Id. ¶ 246. But the LULAC Plaintiffs fail to

allege the Secretary’s connection to enforcement of these provisions. The Secretary in fact does not

enforce them.

        For example, SB1 §§ 3.09, 3.10 and 3.12 amend Texas Election Code §§ 85.005, 85.006(b) and

(e), and 85.061(a), respectively, and the early voting clerk enforces these provisions. See Tex. Elec.

Code §§ 83.001–83.0012 (identifying whom is the early voting clerk and specifying that “[t]he early

voting clerk shall conduct the early voting in each election”); see also id. at §§ 85.005, 85.006(b),

85.006(e), 85.0061(a) (specifying how the early voting clerk shall conduct early voting in certain

elections). SB1 §§ 3.04 and 3.13 include amendments relating to the location of polling places, but the

Secretary does not designate polling locations. See Tex. Democratic Party v. Hughs, 997 F.3d 288, 291 (5th

Cir. 2021) (finding that “[t]he Secretary plays no role”); see also Tex. Elec. Code §§ 43.002–43.004

(assigning this responsibility to local officials).

        The Secretary also does not enforce the challenged provisions relating to watchers, that is, SB1


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§§ 4.01, 4.02, 4.06, 4.07, 4.09, and 4.12. Section 4.02, at most, imposes obligations on poll watchers,

not the Secretary. Tex. Elec. Code § 33.0015. The others specify no enforcement role for the Secretary.

See id. §§ 32.075 (amended by § 4.01); 33.051 (amended by § 4.06); 33.056 (amended by § 4.07); 33.061

(amended by § 4.09); 86.006 (amended by § 4.12). As to §§ 5.01–5.03, and 5.07, the early voting clerk,

not the Secretary, enforces the ballot-application requirements. Tex. Elec. Code § 86.001(c). SB1

§ 5.08 requires that the carrier envelope include spaces for voters to include information, id.

§ 86.002(g)–(i), but the signature verification committee and early voting ballot board are responsible

for verifying that individuals provide the required information. See id. §§ 87.0271, 87.041, 87.0411.

        The Secretary does not enforce SB1 §§ 6.03 and 6.04 either. Section 6.03 is discussed above.

Section 6.04 requires a person providing assistance to a voter that is not an election officer to take an

oath administered by an election officer before providing assistance. Id. § 64.034. It is “an election

officer at the polling place,” not the Secretary, who administers and enforces the oath requirement.

Id.; see also id. §§ 32.071 (“The presiding judge is in charge of and responsible for the management and

conduct of the election at the polling place . . . .); 32.074 (“An election judge or clerk may administer

any oath required or authorized to be made at the polling place.”).

        Section 7.04 is both the final provision of SB1 challenged in Count I and the only provision

challenged in Count IV. ECF 136 ¶¶ 246, 285. SB1 § 7.04 adds §§ 276.015–.019 to the Election Code.

These provisions assign no enforcement role to the Secretary, and the LULAC Plaintiffs have not

alleged that he enforces them.

        B.      Plaintiffs Have Not Alleged that the Attorney General Enforces the Challenged
                Provisions of SB1

        Sovereign immunity also bars the LULAC Plaintiffs’ claims against the Attorney General.

Again, allegations that the Attorney General has a general duty to enforce state laws, ECF 136 ¶ 27,

are not enough to satisfy Ex parte Young. See Tex. Democratic Party, 961 F.3d at 401–02. A “provision-

by-provision analysis is required” to show that a state official has the requisite connection to each

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challenged provision. Tex. Democratic Party, 860 F. App’x at 877. Though they challenge numerous SB1

provisions, the LULAC Plaintiffs only discuss the Attorney General in relation to five—§§ 2.04, 2.08,

6.03, 6.04, and 7.04. ECF 136 ¶ 27. For this reason, the LULAC Plaintiffs have not satisfied their

burden to show that the Attorney General is a proper defendant for challenges to any other provision.

        The LULAC Plaintiffs’ allegations are also insufficient even for the provisions they mention:

§§ 2.04, 2.08, 6.03, 6.04, and 7.04. The LULAC Plaintiffs observe that § 2.04 “requires the Attorney

General to be informed of all instances of unlawful voting or registration” and contend that it

“empowers the Attorney General to use that information to prosecute such crimes.” ECF 136 ¶ 27.

But the Attorney General does not enforce § 2.04. Under that provision, he merely receives information.

See SB1 § 2.04 (amending Tex. Elec. Code § 15.028). Enforcement is defined by “compulsion or

constraint,” City of Austin, 943 F.3d at 1000, but § 2.04 does not empower the Attorney General to

compel or constrain anyone. Because “the requisite connection is absent,” the Ex parte Young analysis

ends there. In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020) (citing City of Austin, 943 F.3d at 998), vacated

as moot sub nom. Planned Parenthood Ctr. for Choice v. Abbott, 141 S. Ct. 1261 (2021). In any event, the

LULAC Plaintiffs do not contend that the Attorney General would violate federal law by merely

receiving information.

        Nor does the Attorney General enforce § 2.08. Under that provision, just like under § 2.04,

the Attorney General receives information indicating that a criminal violation of the State’s election

laws may have occurred. In fact, the provision’s primary effect is to establish that such information is

not public information until after the investigation is completed. Tex. Elec. Code § 31.006(b). Nothing

in Texas Election Code § 31.006 compels the Attorney General to take an enforcement action. Indeed,

it expressly contemplates that he has discretion to determine that “the information referred does not

warrant an investigation.” Id. § 31.006(b)(2).

        As for SB1 §§ 6.03, 6.04, and 7.04, the LULAC Plaintiffs allege that the “Attorney General


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has . . . made clear that he plans to enforce” provisions of SB1, including “violations of voter assistance

laws, like SB1 §§ 6.03–6.04, and so-called vote harvesting laws, like § 7.04,” based on the Attorney

General’s announcement “that he would be forming the Texas Election Integrity Unit.” ECF 136

¶ 27. The LULAC Plaintiffs allege that “[t]he Attorney General is empowered to ‘prosecute a criminal

offense prescribed by the election laws of [the] state,’ Tex. Elec. Code § 273.021(a), including the new

criminal provisions of SB 1.” Id. However, the Texas Court of Criminal Appeals recently held that

Texas Election Code § 273.021 “is unconstitutional” and the Attorney General “cannot initiate

prosecution [of election cases] unilaterally.” State v. Stephens, No. PD-1032-20, 2021 WL 5917198, at

*1, 8 (Tex. Crim. App. Dec. 15, 2021). As a result, “the authority of the Attorney General is limited

to assisting the district or county attorney upon request.” Id. at *9. 1 This Court must “take the word

of the highest court on criminal matters of Texas as to the interpretation of its law.” Arnold v. Cockrell,

306 F.3d 277, 279 (5th Cir. 2002) (per curiam). “Speculation that [the Attorney General] might be

asked by a local prosecutor to ‘assist’ in enforcing” SB1 “is inadequate to support an Ex parte Young

action against the Attorney General.” In re Abbott, 956 F.3d at 709 (citing City of Austin, 943 F.3d at

1000). Accordingly, these and other allegations relating to the Attorney General’s authority to

prosecute violations of Texas’s election laws are also insufficient to establish the Attorney General as

a proper defendant.

        Because the LULAC Plaintiffs have not alleged, on a provision-by-provision basis, “that the

Attorney General has the authority to enforce” the particular provisions at issue, City of Austin, 943

F.3d at 1001, there is no need to proceed to the next step in the analysis. Their claims fail out of the

gate.

        But if the Court reaches the second step, it must consider whether the LULAC Plaintiffs have



1The State of Texas and the Attorney General believe that Stephens was wrongly decided. The State has filed a
motion asking the Texas Court of Criminal Appeals to reconsider its decision.

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plausibly alleged “that [the Attorney General] is likely to” enforce the particular provisions at issue in

the way Plaintiffs claim. Id. at 1002. The decision of the Texas Court of Criminal Appeals discussed

above holds that the Attorney General cannot do so unilaterally. See Stephens, 2021 WL 5917198, at *1,

8. Moreover, to the extent the LULAC Plaintiffs rely on the Attorney General’s prior investigations

and prosecutions, “that he has chosen to” enforce “different statutes under different circumstances does

not show that he is likely to” enforce the provisions Plaintiffs challenge in the manner they allege. City

of Austin, 943 F.3d at 1002. The LULAC Plaintiffs do not and cannot plausibly allege that the Attorney

General will bring suits that violate federal law. That is especially true in light of the “presumption of

regularity” afforded “prosecutorial decisions.” United States v. Armstrong, 517 U.S. 456, 464 (1996); see

also Hartman v. Moore, 547 U.S. 250, 263 (2006).

         C.     Plaintiffs Do Not Plead an Alternative Exception to Sovereign Immunity

         Sovereign immunity bars the LULAC Plaintiffs’ claims unless they show that sovereign

immunity has been “waived by the state, abrogated by Congress, or an exception applies.” Tex.

Democratic Party, 978 F.3d at 179 (citing City of Austin, 943 F.3d at 997). The Ex parte Young exception

does not apply for the reasons above, and the LULAC Plaintiffs have not pleaded waiver or abrogation

by Congress that would permit their claims to proceed. And if they had tried, they would have been

wrong.

         The LULAC Plaintiffs do not assert Count II against the State Defendants. ECF 136 at 52.

For Count III, “Congress has not abrogated state sovereign immunity . . . under § 1983.” Raj v. LSU,

714 F.3d 322, 328 (5th Cir. 2013). As to Counts I and IV, although OCA-Greater Houston v. Texas holds,

without analysis, that the Voting Rights Act abrogates sovereign immunity, 867 F.3d 604, 614 (5th

Cir. 2017), that case was wrongly decided. “Congress did not unequivocally abrogate state sovereign

immunity under Section 2 of the Voting Rights Act.” Ala. State Conference of the NAACP v. Alabama,

949 F.3d 647, 655 (11th Cir. 2020) (Branch, J., dissenting). Nor did it do so in Section 208. When the


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VRA authorizes relief against States, it does so through suits brought by the Attorney General, see, e.g.,

52 U.S.C. § 10308(d), which the Supreme Court has held are not subject to sovereign immunity. See

West Virginia v. United States, 479 U.S. 305, 312 n.4 (1987); United States v. Mississippi, 380 U.S. 128, 140

(1965). Although this Court is bound by OCA-Greater Houston, the State Defendants preserve this

argument for appeal.

II.       Plaintiffs Lack Standing

              A. Plaintiffs Bear the Burden of Establishing Standing on a Claim-by-Claim Basis

          “[S]tanding is perhaps the most important of the jurisdictional doctrines.” FW/PBS, Inc. v. City

of Dallas, 493 U.S. 215, 231 (1990) (quotation omitted). At the pleading stage, the LULAC Plaintiffs

must “clearly . . . allege facts demonstrating each element” of standing. Spokeo, Inc. v. Robbins, 578 U.S.

330, 339 (2016) (quotation omitted). A plaintiff must show: (1) an actual or imminent, concrete and

particularized “injury-in-fact”; (2) that is fairly traceable to the challenged action of the defendant; and

(3) that is likely to be redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561

(1992).

          Artificial entities have two options for trying to establish standing: (1) associational standing

and (2) organizational standing. See NAACP v. City of Kyle, 626 F.3d 233, 237–38 (5th Cir. 2010). For

associational standing, the entity must show that (1) its members would independently have standing;

(2) the interests the organization is protecting are germane to the purpose of the organization; and (3)

neither the claim asserted nor the relief requested requires participation of individual members. Ctr.

for Biological Diversity v. EPA, 937 F.3d 533, 536 (5th Cir. 2019). For organizational standing, the plaintiff

must establish, in its own right, an injury in fact, causation, and redressability. Id.

          Because the LULAC Plaintiffs are “invoking federal jurisdiction,” they “bear[] the burden of

establishing these elements.” Lujan, 504 U.S. at 561. Additionally, because “[s]tanding is not dispensed

in gross,” the LULAC Plaintiffs must plausibly allege “standing to challenge each provision of law at


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issue.” In re Gee, 941 F.3d 153, 161–62 (5th Cir. 2019) (per curiam) (emphasis added). But rather than

proceed “provision-by-provision” and “claim-by-claim,” id. at 165, 170, the LULAC Plaintiffs’

standing allegations often treat SB1 as an undifferentiated whole. That does not suffice.

        B.      Plaintiffs Have Not Plausibly Alleged Traceability or Redressability

        As an initial matter, the LULAC Plaintiffs lack standing because their alleged harms are neither

traceable to the State Defendants nor redressable by this Court. By and large, the LULAC Plaintiffs

challenge SB1 as an undifferentiated whole, without tying their alleged injuries to particular

enforcement actions by any of the State Defendants. But as explained in Part I, none of the State

Defendants have broad power to enforce all of SB1. The Ex parte Young analysis above “significantly

overlap[s]” with the traceability and redressability analysis. City of Austin, 943 F.3d at 1002. However,

traceability and redressability are still required even when sovereign immunity is inapplicable. See U.S.

Const. art. III, § 2. The LULAC Plaintiffs fail to address these requirements. Their claims against the

State Defendants cannot proceed because they do not connect their alleged injuries to the Secretary’s

or the Attorney General’s actions, or explain how enjoining them will redress those injuries.

        To be sure, OCA-Greater Houston wrongly found standing satisfied in an earlier suit against the

Secretary of State because the Secretary “serves as the ‘chief election officer of the state.”’ 867 F.3d at

613. But OCA “involved a facial challenge under the Voting Rights Act,” not “an as-applied challenge

to a law enforced by local officials.” Tex. Democratic Party v. Hughs, 974 F.3d 570, 571 (5th Cir. 2020)

(per curiam) (distinguishing OCA). Its reasoning is limited, at least, to cases considering “[t]he facial

validity of a Texas election statute.” OCA, 867 F.3d at 613.

        In any event, OCA is inconsistent with Texas authorities, which control on the underlying

question of Texas law: Does being the “chief election officer” empower the Secretary to enforce

Section 6.04? No, because the “Secretary’s title chief election officer is not a delegation of authority

to care for any breakdown in the election process.” In re Hotze, 627 S.W.3d 642, 649 (Tex. 2020)


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(Blacklock, J., concurring) (describing Bullock v. Calvert, 480 S.W.2d 367 (Tex. 1972)) (quotation marks

omitted). OCA did not consider these precedents, or any other opinions from Texas courts. Justice

Blacklock’s In re Hotze concurrence post-dated OCA, so the OCA court did not have a chance to

consider that opinion. And the OCA court appears to have been unaware of Calvert, which was not

cited in the parties’ briefs. Because OCA did not “squarely address[]” Texas cases interpreting the

Secretary’s role as chief election officer, it is not binding “by way of stare decisis.” Brecht v. Abrahamson,

507 U.S. 619, 631 (1993); see Wilson v. Taylor, 658 F.2d 1021, 1034–35 (5th Cir. 1981) (refusing to follow

a Fifth Circuit opinion that conflicted with a previous Supreme Court opinion that “was not called to

the attention of the [first Fifth Circuit] panel”).

           C.     No Plaintiff Has Associational Standing

           The amended complaint does not plausibly allege facts establishing associational standing. A

plaintiff cannot have associational standing unless one of its members independently satisfies the

Article III standing requirements. Ctr. for Biological Diversity, 937 F.3d at 536. The plaintiff must

therefore make two threshold showings: (1) that it has “members” within the meaning of the

associational standing test from Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 344 (1997)

(requiring “indicia of membership”), and (2) that identified members have “suffered the requisite

harm,” Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009). The LULAC Plaintiffs here have done

neither.

           The LULAC Plaintiffs have failed to establish they have “members” within the meaning of

the Hunt test. Voto Latino does not even describe itself as having members. Indeed, the most recent

financial disclosure form on its website told the IRS that it did not “have members,” much less

“members . . . who had the power to elect or appoint one or more members of the governing body.”

See ECF 54-2 (answering “No” to questions 6 and 7a in Part VI.A of IRS Form 990). Voto Latino

instead claims to act on behalf of various Texas communities, id., but the beneficiaries of a plaintiff’s


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services do not qualify as members for purposes of associational standing. See Ne. Ohio Coal. for

Homeless v. Blackwell, 467 F.3d 999, 1010 n.4 (6th Cir. 2006) (“[T]he Northeast Ohio Coalition for the

Homeless apparently seeks to assert a form of representational standing never recognized by any

court—standing on behalf of the group served by the organization.”). Not having members is fatal to

associational standing.

        The remaining Plaintiffs claim to have members in the colloquial sense, but they fail to allege

that each of those individuals “possess all of the indicia of membership”: that “[t]hey alone elect the

members of the [governing board]; they alone may serve on the [governing board]; they alone finance

its activities, including the costs of this lawsuit, through assessments levied upon them.” Hunt, 432

U.S. at 344–45. Generally, members must “participate in and guide the organization’s efforts.” Ass’n

for Retarded Citizens of Dall. v. Dall. Cnty. Mental Health & Retardation Ctr. Bd. of Trs., 19 F.3d 241, 244

(5th Cir. 1994). More specifically, the members must “elect leadership, serve as the organization’s

leadership, and finance the organization’s activities, including the case’s litigation costs.” Texas

Indigenous Council v. Simpkins, No. 5:11-cv-315, 2014 WL 252024, at *3 (W.D. Tex. Jan. 22, 2014)

(Rodriguez, J.). The LULAC Plaintiffs assert no facts to this end.

        Second, even assuming Plaintiffs have members, they fail to “identify members who have

suffered the requisite harm” to establish injuries in fact. Summers, 555 U.S. at 499. This requires, among

other things, allegations of a “specific member” and specific facts establishing how that member will

suffer an injury in fact. City of Kyle, 626 F.3d at 237. As this Court recognized at the status conference,

the LULAC Plaintiffs’ original complaint did not “identify[] specific members of those associations

who would themselves have standing to sue.” Ex. A at 18. The Court advised the plaintiffs “to flush

that out because I don’t see where many of you have articulated those individuals sufficient to

withstand any challenge.” Id. But the LULAC Plaintiffs did not follow that advice.

        This defect is independently sufficient to warrant dismissal of the LULAC Plaintiffs’ claims.


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See Draper v. Healey, 827 F.3d 1, 3 (1st Cir. 2017) (Souter, J.) (dismissing claim for lack of standing

where entity plaintiff failed to identify a member who was affected by the challenged regulation);

Disability Rights Wis., Inc. v. Walworth Cnty. Bd. of Supervisors, 522 F.3d 796, 804 (7th Cir. 2008) (dismissing

claim for lack of standing where entity plaintiff failed to identify a member who was affected by the

disability policy). 2

         Finally, even if the LULAC Plaintiffs otherwise had associational standing (they do not), they

would not be able to rely on associational standing for their disability-based claim: Count IV under

§ 208 of the VRA. The third element of associational standing demands that “neither the claim

asserted nor the relief requested requires participation of individual members.” Ctr. for Biological

Diversity, 937 F.3d at 536. “To determine whether” a “claim require[s] individual participation,” courts

“examine[] the claim’s substance.” Cornerstone Christian Sch. v. Univ. Interscholastic League, 563 F.3d 127,

134 (5th Cir. 2009). If the claim has an “individualized element,” then “[t]he involvement of”

individual members “is essential to the resolution of the” claim. Id.

         Here, the LULAC Plaintiffs’ disability claim requires the participation of individual members,

both because it has individualized elements and because of the relief requested. First, a plaintiff must

identify which aspect of § 208 has been violated. That statute applies to several different categories of

impairments: “blindness, disability, or inability to read or write.” 52 U.S.C. § 10508. And as with all

impairments, these vary in degree and effect. For these reasons, a voter’s entitlement to assistance

under § 208 is based on a specific voter’s disability and the assistance necessary to accommodate that

voter. See, e.g., Ray v. Texas, No. 2-06-CV-385, 2008 WL 3457021, at *1–3, 6–7 (E.D. Tex. Aug. 7,

2008) (considering the specific effect of Texas early voting law on group of elderly plaintiffs). This



2 Although an unpublished opinion of the Fifth Circuit once noted that the panel was “aware of no precedent
holding that an association must set forth the name of a particular member in its complaint,” Hancock Cnty. Bd.
of Supervisors v. Ruhr, 487 F. App’x 189, 198 (5th Cir. 2012), the precedent cited above holds exactly that.


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requires a “case-by-case analysis” of plaintiff-specific facts and circumstances. Duncan v. Univ. of Tex.

Health Sci. Ctr. at Hous., 469 F. App’x 364, 369 (5th Cir. 2012) (per curiam). The LULAC Plaintiffs’

“complaint alleges no facts suggesting” that disabled voters will face “uniform” issues across Texas’s

254 counties and despite variation in individual disabilities. Prison Justice League v. Bailey, 697 F. App’x

362, 363 (5th Cir. 2017) (per curiam). In the absence of such uniformity, individual participation is

crucial for understanding the merits of a disability claim.

        D.      None of the Plaintiffs Plausibly Allege a Cognizable Injury

        The LULAC Plaintiffs do not have organizational standing because they have not plausibly

alleged that they, as organizations, will suffer injuries in-fact. The LULAC Plaintiffs do not claim to

be “the object of the government action or inaction [they] challenge[],” so standing is “substantially

more difficult to establish.” Lujan, 504 U.S. at 562 (quotation omitted). Instead, all four Plaintiffs claim

that SB1’s effects on third parties force them to divert resources from other programs and activities.

ECF 136 ¶¶ 20, 22, 24–25, 248, 279. As an initial matter, the LULAC Plaintiffs’ allegations are

insufficient because they treat SB1 as an undifferentiated whole rather than address “each provision

of law at issue.” In re Gee, 941 F.3d at 161–62. This Court must “decide [standing] on a provision-by-

provision basis.” Id. at 165.

        In any event, although the diversion of resources can constitute a requisite injury under certain

circumstances, “[n]ot every diversion of resources to counteract [a] defendant’s conduct . . .

establishes an injury in fact.” City of Kyle, 626 F.3d at 238. First, an organization’s decision to divert

resources cannot itself be speculative. “The change in plans must still be in response to a reasonably

certain injury imposed by the challenged law.” Zimmerman v. City of Austin, 881 F.3d 378, 390 (5th Cir.

2018). Plaintiffs “cannot manufacture standing merely by inflicting harm on themselves based on their

fears of hypothetical future harm that is not certainly impending.” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 402 (2013). Rather, the organization must act in response to an impending injury. That is, a


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diversion of resources is cognizable only if the plaintiff “would have suffered some other injury if it

had not diverted resources to counteracting the problem.” La Asociacion de Trabajadores de Lake Forest

v. City of Lake Forest, 624 F.3d 1083, 1088 (9th Cir. 2010).

        The alleged underlying injury must also be concrete. “Frustration of an organization’s

objectives is the type of abstract concern that does not impart standing.” Nat’l Treasury Emps. Union v.

United States, 101 F.3d 1423, 1429 (D.C. Cir. 1996) (quotation omitted). Allegations of impaired “issue-

advocacy” do not suffice. Ctr. for Law & Educ. v. Dep’t of Educ., 396 F.3d 1152, 1162 (D.C. Cir. 2005).

Thus, “a showing that an organization’s mission is in direct conflict with a defendant’s conduct is

insufficient, in and of itself, to confer standing on the organization to sue on its own behalf.” Ass’n of

Cmty. Organizations for Reform Now v. Fowler, 178 F.3d 350, 361 n.7 (5th Cir. 1999).

        In this case, none of the LULAC Plaintiffs identify a cognizable injury they would suffer if

they did not divert their resources. LULAC claims that it “must divert resources . . . to address the

adverse impacts of SB1.” ECF 136 ¶ 20. LULAC does not claim that these “adverse impacts” affect

its activities. Instead, it casts its objection as a concern over the burden SB1 allegedly imposes on

LULAC’s members. Id.; see also id. ¶¶ 248, 279. The most LULAC implies is a relationship between

SB1 and voter turnout among Latino communities, which, it contends, is “critical” to its mission. Id.

¶ 20. But the “abstract social interest in maximizing voter turnout . . . cannot confer Article III

standing.” Fair Elections Ohio v. Husted, 770 F.3d 456, 461 (6th Cir. 2014). And an interest in increasing

turnout for particular groups is akin to a “generalized partisan preference[ ],” which the Supreme Court

held insufficient to establish Article III standing. Gill v. Whitford, 138 S. Ct. 1916, 1933 (2018).

Regardless, “a stated interest in an issue is not enough unless there is a concrete showing of how the

allegedly discriminatory . . . practice is going to impair the organization’s activities.” Galveston Open

Gov’t Project v. U.S. Dep’t of Hous. & Urban Dev., 17 F. Supp. 3d 599, 613 (S.D. Tex. 2014) (Costa, J.).

That is missing here.


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        The harms alleged by Voto Latino fall flat for similar reasons. Voto Latino claims that it “will

need to divert funds . . . , as well as the time and energy of its staff and volunteers in Texas, to educate

its constituents” about SB1. ECF 136 ¶ 22. As an initial matter, an organization’s “self-serving

observation that it has expended resources to educate its members and others regarding [the

challenged law] does not present an injury in fact.” Nat’l Taxpayers Union v. United States, 68 F.3d 1428,

1434 (D.C. Cir. 1995). Voto Latino characterizes the diversion of resources as being directed towards

“combat[ing] SB 1’s effects on its core constituency” and “Texans that Voto Latino works to support”

rather than SB1’s impact on its own activities. ECF 136 ¶ 22; see also id. ¶¶ 248, 279. Voto Latino claims

that SB1 “frustrates its mission of enfranchising and turning out Latinx voters in Texas.” Id. ¶ 22. But

again, maximizing voter turnout is not a concrete interest. Fair Elections Ohio, 770 F.3d at 461; see also

Gill, 138 S. Ct. at 1933.

        TARA and Texas AFT, meanwhile, argue that the diversion of resources is necessary to

educate members on the new law, ECF 136 ¶¶ 24–25, but educating voters, on its own, is not an injury

in-fact. Nat’l Taxpayers Union, 68 F.3d at 1434. In addition, to establish standing, “an organizational

plaintiff must explain how the activities it undertakes in response to the defendant’s conduct differ

from its ‘routine [] activities.’” Def. Distributed v. U.S. Dep’t of State, No. 1:15-CV-372-RP, 2018 WL

3614221, at *4 (W.D. Tex. July 27, 2018) (quoting City of Kyle, 626 F.3d at 238). And it must “identify

‘specific projects that [it] had to put on hold or otherwise curtail in order to respond to’ the defendant’s

conduct.” Id. (quoting Louisiana ACORN Fair Hous. v. LeBlanc, 211 F.3d 298, 305 (5th Cir. 2000)).

TARA and Texas AFT allege none of this.

        Finally, both TARA and Texas AFT contend that SB1 “threaten[s] the electoral prospects” of

their “endorsed candidates,” ECF 136 ¶ 23, impairing their ability “to help [their] membership select

leaders” who support their memberships’ interests. Id. ¶ 25. The argument fails, however, because not

only have Plaintiffs not alleged that SB1 disproportionately affects the candidates TARA and Texas


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AFT prefer, but “[a]n organization’s general interest in its preferred candidates winning as many

elections as possible is still a ‘generalized partisan preference[]’ that federal courts are ‘not responsible

for vindicating.’” Jacobson v. Fla. Sec’y of State, 957 F.3d 1193, 1206 (11th Cir. 2020) (quoting Gill, 138

S. Ct. at 1933). Thus, even though TARA claims that SB1 frustrates its mission, ECF 136 ¶ 23, none

of the consequences that TARA attributes to SB1 constitute a legal harm. See Berg v. Obama, 586 F.3d

234, 240 (3d Cir. 2009) (explaining that a plaintiff’s “wish that . . . voters had chosen a different

presidential candidate” is not “a legal harm”); see also Becker v. FEC, 230 F.3d 381, 390 (1st Cir. 2000).

TARA also appears to assert an interest in general voter turnout. ECF 136 ¶ 24 (alleging that TARA

“spends resources on voter registration, phone banking, and GOTV [get-out-the-vote] activities”).

But as explained above, that interest does not support Article III standing.

        OCA-Greater Houston, about which the Court asked at the status conference, is not to the

contrary. In that case, the Fifth Circuit considered whether a plaintiff’s alleged diversion of resources

was an injury in fact. The court analyzed a “critical distinction”: whether the expenses “were related

to litigation” or “unrelated to litigation.” OCA, 867 F.3d at 612. That is an important limitation on

organizational standing, but it is not at issue in this case.

        In this case, one key question is whether the LULAC Plaintiffs’ alleged diversions of resources

are self-inflicted injuries or necessary responses to cognizable injuries they otherwise would have

suffered. OCA did not analyze that question, seemingly because the parties did not brief it. The court

there simply did not consider whether the plaintiff’s “change in plans” was “in response to a

reasonably certain injury imposed by the challenged law,” as other precedent requires the Court to

address here. Zimmerman, 881 F.3d at 390.

        E.      Plaintiffs Violate the Bar on Third-Party Standing

        Finally, the LULAC Plaintiffs lack standing for another reason: the bar on third-party standing.

The LULAC Plaintiffs’ Count III is based on § 1983, but that statute provides a cause of action only


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when the plaintiff suffers “the deprivation of any rights” at issue. 42 U.S.C. § 1983. The same is true for

the LULAC Plaintiffs’ other causes of action. A “third party may not assert a civil rights claim based

on the civil rights violations of another individual.” Barker v. Halliburton Co., 645 F.3d 297, 300 (5th

Cir. 2011) (citing Coon v. Ledbetter, 780 F.2d 1158, 1160–61 (5th Cir. 1986)). Thus, where the “alleged

rights at issue” belong to a third party, the plaintiff lacks statutory standing, regardless of whether the

plaintiff has suffered his own injury. Danos v. Jones, 652 F.3d 577, 582 (5th Cir. 2011); see also Lexmark

Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 127–28 nn.3–4 (2014). Here, the LULAC

Plaintiffs rely on the rights of third parties because they do not possess the relevant rights (e.g., the

right to vote, the right to assistance with voting if you have a disability). The LULAC Plaintiffs have

not alleged any exception to the general prohibition on third-party standing.

III.    Plaintiffs’ Claims Fail as a Matter of Law

        Finally, the LULAC Plaintiffs’ claims under §§ 2 and 208 of the Voting Rights Act must be

dismissed because those statutes do not create a private cause of action. State Defendants will not

burden the Court with further briefing on these issues that they raised in their previous Motion to

Dismiss, ECF 54 at 16–21, because of the Court’s denial of these arguments during the November

16, 2021 status conference. State Defendants respectfully disagree with that ruling and raise these

arguments to preserve them for further review.

                                             CONCLUSION

        State Defendants respectfully request that the Court dismiss the claims against them.




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Date: January 5, 2022                Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on January 5, 2022, and that all counsel of record were served by CM/ECF.

                                              _/s/ Patrick K. Sweeten________________
                                              PATRICK K. SWEETEN




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